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                            Exhibit 5
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     From:                            Ivan Ernest < ivane@google.com > on behalf of Ivan Ernest
     Sent:                            Sunday, September 21, 2008 6:14 PM
     To:                              Alan Eustace
     Subject:                         Re: [Lstaff] Fw: TGIF Q&A Summary 9/19/08



     Thanks you so much for making the trip to PHX and for backing me on two key decisions. First, allowing 85%
     of people to look for other opportunities at Google. Second, pulling the announcement date to 9/18 rather than
     9/22.

     Thanks.

     Ivan

     On 9/20/08, Laszlo Bock <laszlo@google.com> wrote:
     Please do not forward

     ----- Original Message -----
     From: ocexecs@gQQgle.com <ocexecs@gQQgl~.,~Q!n>
     To: ocexecs@google.com <ocexecs@google.com>
     Cc: gcdirectors@google.com; Marty Lev; David Radcliffe; internalcomms-ca@google.com <internalcomms-
     ca@google.com>
     Sent: Sat Sep 20 12:53:50 2008
     Subject: TGIF Q&A Summary 9/19/08

     Of the 19 questions total today, 4 were about the closing of the Phoenix office, and 2 of those were submitted
     by Googlers in distributed offices (NYC, London).
     Alan responded to the Phoenix questions and reassured people that the Googlers in the Phoenix office were
     being treated well in terms of having the chance to interview at other offices, and their relocation and severance
     packages. Sergey responded to the more general question, "What goes into the decision to close an office?"

     There was an active misc thread this week on the email that went out from Bill and Kent announcing the new,
     "off the record" default setting to google.com <http://google.com/> Google Talk, with most Googlers being
     grumpy about the change. Bill fielded a question at TGIF that described the change as "inconvenient and
     ungoogley."

     There was one question at TGIF expressing concern about "the loss of productivity" caused by the Perf process
     to which both Urs and a Googler in the audience stepped forward to argue that the time invested in providing
     peer evaluations is critical to Googlers' careers and their self-improvement. I'll end with a quote from Urs:
     "Our company is not just about technical work, it's also about people."

     All the best,
     Sally



     ---------- Forwarded message ----------
     From: Tenoch Esparza <tenoch@google.com>




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     Date: Fri, Sep 19, 2008 at 8:07 PM
     Subject: TGIF Q&A Summary for September 19, 2008
     To: Sally Cole <sallyc@google.com>



     TGIF Q&A Summary, September 19, 2008



     1) (Dory) According to media reports Android phones will be available to the general public in October. When
     will they appear in the Google store? Will there be any discount plans for Googlers?


     Alan: The ship date is October 15, and we hope to get phones earlier than that if possible.


     2) (Dory) We learned this week that the Phoenix office is being shut down but without many details about the
     welfare of its employees. Can you describe their relocation opportunities? Will their salaries, for example, be
     adjusted for local cost of living?


     Alan: We had to shut down Phoenix office. I went down and helped a team of people do that. We met with all
     the employees yesterday. It was a pretty sad day for me and I think certainly for the people in Phoenix. As far
     as the employees, we are doing everything we can to take care of them. Almost all of them, we believe and we
     hope, will come to other places in the organization in other cities. We also have severance and re-location
     packages that we're making available to people, so we're doing everything we can for the employees.

     I have a feeling, based on what I saw, that we're going to get lucky and a lot of them are going to come to other
     places in the company, because most of them really want to work for Google. There are differences in cost of
     living from geographies, and we adjust our pay scales based on geography and the ability to hire people in that
     area. Phoenix is one of the cheapest places, so people that do get jobs in other places are likely to see an
     increase in salary.


     3) (Dory) Yahoo has recently made a number of radical (and innovative) changes to search: SearchMonkey,
     full-length music track playback, etc. Are we being too risk-averse? Are we not coming up with these ideas? Or
     is this simply a desperation move by Yahoo?


     Sergey: I think we are being too risk averse. Although I don't think the particular Yahoo! improvements are that
     radical. We actually have the Google OneBox API that is very much like like Search Monkey. But at a high
     level, I don't see other companies doing really risky or new approaches. But I think we could be doing more
     radical things.

     We do have a couple of frameworks, including the experimental mode, where we can launch new questionable
     features on a more often basis. We also need to develop better ways of measuring these features' effectiveness,
     because our traditional click metrics don't really work if you change how search works.

     Also, we have the Seattle office, whose whole mission is to do very different things -- and they have some
     really interesting demos up there.
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     4) (Dory) I know that some people in the Phoenix office were laid off today. Some of them were good
     performers, some of them were even promoted recently. Many of them were senior in the hierarchy. Why
     weren't they even asked if they wanted to relocate?


     Alan: The vast, vast, vast, vast majority of everybody was asked to relocate.


     5) (Dory) What goes into a decision to close an office?



     Sergey: This is actually not the first office we've closed. The Denver sales office was closed earlier. But we
     evaluated all the offices carefully a few months back. And we do, from time to time, try to figure out what can
     we do to make them really productive for us and worth maintaining.


     As we are open to opening many offices in diverse parts of the world, we do take on risk. And I think it's
     important for us to re-evaluate from time to time and have the option to close them down. I know it's a little bit
     of a first for us as a company, but I would expect as we do grow to 50 or so engineering offices with probably
     80 different cities around the world that we now have offices between sales and engineering, that we are going
     to close one from time to time. And that's what allows us to continue to open more and be open-minded about it.



     Alan: This was a particular situation where we opened an IS office. It was a relatively small group and
     relatively fragmented. They were farther away from their customers in major areas like New York and
     Mountain View. And our hope is we are going to bring those people closer to their customers. So it was really
     specific to what our expectations are for Information Systems.



     6) (Dory) There has been many leaks of Android phones in the wild, some showing the serial numbers on the
     phone (supposedly from Googlers). What is being done to prevent this in the future? Are we going after the
     leaks?


     Sergey: We have had a couple cases and are investigating them seriously. We certainly hope that these were not
     deliberate leaks. But even if they were accidental, it's important for Googlers we entrust with products that are
     not yet released that they be careful with them.


     7) (Dory) The decision to make GMail chat "off the record" by default is inconvenient and ungoogley. It's at
     odds with external messaging for chat, and genuinely impacts productivity. Will GMail's email history soon
     default to "off," too, to reduce liability?


     Bill: Regarding the note that Kent and I sent out, I think some people don't realize that as employees of Google,
     they are representatives of Google. And in particular with chat, I have run into a number of employees who
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     actually didn't realize they were chatting "on the record." Which you may find a little bit surprising, but that's
     one of the reasons we made the change.


     I think in general we need to be more careful and think about what we are writing. People use chat for gossip
     and speculation and so forth. There is an option for those of you who use it for technical discourse to go ahead
     and flip the bit to back "on the record," but be careful what you are doing. It isn't clear that every single chat
     needs to be recorded.



     8) (Dory) Oracle "E-Business Suite" applications are worse than Windows 3.1 and cause measureless anguish
     among those who must use them (pretty much everyone). Can we banish them all to fires of perdition by EOY?


     Larry: I would like to. I think we have always had this battle about our financial stuff, and it's been difficult to
     use other things. And it really has to do with auditing and the way the world works. I think it's a major
     undertaking to move all the stuff over to some other system. I don't think this is a problem unique to us, but I
     agree, it's really irritating.


     9) Live: I was wondering if Eric had any immediate future plans for his "army of young amoral foot soldiers"?
     [Regarding ABC News story] It seems that this, and other stories, are suspiciously coinciding with the Bush
     administration's interest in anti-trust, and I was wondering what you thought about this.

     Sergey: I did not see that particular piece. I think with respect to the Yahoo! deal that's been much in the press,
     we've made our case. Everyone can sign up for AdSense today. And it was was personally difficult for Larry
     and me to tell Jerry Yang and David Filo, who encouraged us to start this company, "we will offer this product
     to everyone but you." And we think we've done that in a way that is very competitive, and we think we can
     make that case to the D.O.J.


     10) (Dory) What are we doing to make sure that Phoenix people who can't relocate are taken care of? They'll be
     losing their jobs through no fault of their own, and we owe it to them to do the right thing. If we don't take care
     of them, shame on us as a company.


     Alan: The office doesn't close until November 21. So there are 60 days where everybody is still a Google
     employee. Then there are 8 weeks of severance, then 1 week for each year as a Google employee, no matter
     what happens.

     Phoenix is actually in a pretty good situation. I talked to a bunch of employees there, and their job market is
     actually pretty robust right now. The people that we hire actually have really, really extraordinary talent. So I
     believe there will be a really good chance for those people to find jobs in that area if they choose to.

     We're also offering out-placement services within the Benefits and HR organizations.



     11) (Live): Regarding the Android leaks, we seem to be getting pretty excited about leaked photos of phones
     and so forth, and from all the press I have been seeing, people are getting excited about Android. It's actually
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     doing us a lot of good to have buzz out there. And I see in a lot of cases, Google really reflexively avoids telling
     the public about what we are doing. Are we going a little overboard with this?

     Larry: I think there are a variety of issues, but it's better when things are organized. It's hard to see that when
     you are outside of the team. But I think in general with Android, we did make the decision that we are going to
     release a lot of devices to people and make sure it works well and make sure there's a lot of testing, and we
     thought it was likely that people would notice that you are walking around Palo Alto with your phone and it
     doesn't look quite normal. And we decided not to be really paranoid about that and say, "You can only use your
     phone inside of this building," or whatever. So I think we are pretty good about making those trade offs, but
     each team is doing that individually and they usually have a pretty good idea of the cost/benefit of those kind of
     decisions.


     12) (Dory) Recently, the Self-Powered Commuter (SPC) program rolled out a new policy, a policy that has
     been criticized for being too MTV-centric. Would it be possible to decentralize the program so that each office
     or each region could develop its own plan?


     Sergey: I just got this question in New York. We want to give incentives for people to do things they otherwise
     would not do. A lot of other proposals will essentially compensate people for coming to work the way they
     would anyway. So that additional requirement isn't met. That's the theory behind it, and we'll see how it goes
     and we might amend it over time.


     13) (Dory) Are we doing anything to address the loss of productivity caused by the Perf process? A lot of
     Googlers are WFH for several days to get through it. Setting the deadline on a Sunday seems to encourage
     spending the week-end on a work-related activity.


     Urs: Our company is not just about technical work, it's also about people. And your Perf input either as a
     manager or as a peer is very, very important to the person's career and to their self-improvement.

     If you think about the fact that on the high side, you spend probably eight hours of work spent on that. So out of
     all your entire year, if you spend eight hours on Perf, that seems very good. So one day a year to spend to make
     the organization better by commenting on your peers, and also by receiving the benefit of seeing the feedback
     from all of your peers. I think that seems pretty well worth it.


     14) (Dory) What are the plans to refocus our company strategy on our core services and reduce the number of
     mediocre product launches going forward?

     Sergey: I don't think our goal is really to reduce the number of mediocre product launches but to increase the
     number of great ones.


     We periodically do a tally of all of our head count and which products it's on and whether it's on search, ads,
     apps, infrastructure or something else. We don't typically drift very far away from our targets on those numbers,
     but we occasionally readjust.

     I don't think we want all our effort just going to core services because we do have the ability to do new and
     substantial things. For example, we just launched the beta of the Chrome browser which has been, I think, well
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     taken and is a significant advance. And it's adjacent to our core services but not really part of our core service. I
     think we want to keep doing some different things, but we want to think carefully about them and allocate an
     appropriate proportion of our efforts to them. There are things we could have planned better and I don't want to
     highlight any individual products. But for the most part, the freedom and 20% time that we allow, lead to really
     stunning successes in some cases, and in other cases, not. And that's sort of the mixed bag that we get.


      15) (Live) I was wondering if the latency push has produced any results, and if you are satisfied with the them?

     Sergey: It has produced results, but I am not satisfied with them. The most substantial result is that it has staved
     off further latency deterioration in most cases. In some products it has actually sped things up by a substantial
     amount: 10, 20% latency improvement.

     We are now actually choosing latency improvements over new features in many cases.


     16) (Live) I'd like to put in a good word for the Perf process. It's a lot of work, but dictatorship is less work than
     a republic, too. And we wouldn't want to live in one of those. The fact that we have input from all of the people
     around us instead of just being evaluated by one person from above is immensely huge.

     (Applause)



     17) (Dory) Will the Android phone be available in unlocked versions for countries such as India? and will we
     Googlers be getting a hefty discount on it?

     Sergey: There is going to be an unlocked version. It will be more expensive than the ones that come with a plan.


      18) (Live) What do you want to see on our 20th birthday that would make you say, "wow, that's really cool"?

     Larry: I hope to make a lot of progress on Search. I think we can make a lot of progress on really understanding
     what things are, like all the items in the world, the aspects of those items, and so on. We haven't done a good
     job extracting structure from the web. I hope we can accomplish that over the next ten years.


     19) (Live) Larry Schwimmer: I heard an interesting story recently that a Governor of a small state with a
     population of about two-thirds of San Jose recently had her [Yahoo! Mail] account broken into. I was just
     wondering, given all the information, medical and everything else, that Google is storing, are we looking at
     providing a second sector factor or other stronger authentication to protect that information better, especially the
     more sensitive items of the account?


     Sergey: I would like to see us have an easier way of logging in to both your computer and Gmail using your
     phone which you generally have on your person. They could also easily detect if you are in range with
     Bluetooth or something like that, which I think would be really helpful for us as a company. For example, when
     you walk away from your computer it would lock, and when you walk back towards it it would unlock and log
     you in. It would be nice to have a better solution to this problem of lost passwords than things that other people
     can easily guess.

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     I do think ultimately you need third parties to authenticate in the case where you have lost all your credentials.


     ATTENDANCE NUMBERS FOR TGIF TODAY
     Full-Charlie's Cafe, B40
     78-Tunis, B43
     48-Palomar, 1500 Plymouth
     56-Silver Fall, B1600
     45-Kawasaki, 1350
     56-Caloris Motes, 1200-C
     40-Honolulu, B1965
     65-Ha Noi, B47
     55-Havana, B900
     44-Bannack, Bl500-Sal




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